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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION
                               CASE NO: 3:23-CR-14-DJH


UNITED STATES OF AMERICA                                                                 PLAINTIFF


V.


BRYAN DOUGLAS CONLEY                                                               DEFENDANT

                                              ORDER

                                        Electronically Filed

       Motion having been made, and the Court having been duly advised,

       IT IS HEREBY ORDERED that Digital Forensic Examiner (DFE) Erik Vokoun be and

the same hereby is precluded from testifying as an expert at the trial of this action.

       IT IS FURTHER ORDERED that DFE Vokoun is precluded from testifying in any way to

offer explanation, extrapolation, analysis, and/or opinions regarding the data retrieved from the

cellular phones involved in this action.
